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                                      EXHIBIT A

                                    Proposed Order




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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


In re:                                                          Chapter 11

RTI HOLDING COMPANY, LLC,1                                      Case No. 20-12456 (JTD)

                                      Debtors.
                                                                (Jointly Administered)

              ORDER: (I) AUTHORIZING DEBTORS TO EMPLOY AND RETAIN
               FOCALPOINT SECURITIES, LLC AS INVESTMENT BANKER TO
                  THE DEBTORS NUNC PRO TUNC TO THE PETITION DATE,
            (II) APPROVING THE TERMS OF THE ENGAGEMENT AGREEMENT,
                (III) MODIFYING CERTAIN TIME-KEEPING REQUIREMENTS,
                           AND (IV) GRANTING RELATED RELIEF

                    Upon consideration of the application (the ”Application”)2 filed by the debtors

and debtors in possession in the above-captioned cases (collectively, the “Debtors” or the

“Company”), pursuant to sections 327(a) and 328(a) of title 11 of the United States Code (the




1
  The Debtors in these chapter 11 cases and the last four digits of each Debtor’s U.S. tax identification number are
as follows: RTI Holding Company, LLC (4966); Ruby Tuesday, Inc. (5239); Ruby Tuesday, LLC (1391); RTBD,
LLC (6505); RT of Carroll County, LLC (8836); RT Denver Franchise, L.P. (2621); RT Detroit Franchise, LLC
(8738); RT Distributing, LLC (6096); RT Finance, LLC (7242); RT FL Gift Cards, Inc. (2189); RT Florida Equity,
LLC (7159); RT Franchise Acquisition, LLC (1438); RT of Fruitland, Inc. (1103); RT Indianapolis Franchise, LLC
(6016); RT Jonesboro Club (2726); RT KCMO Franchise, LLC (7020); RT Kentucky Restaurant Holdings, LLC
(7435); RT Las Vegas Franchise, LLC (4969); RT Long Island Franchise, LLC (4072); RT of Maryland, LLC
(7395); RT Michiana Franchise, LLC (8739); RT Michigan Franchise, LLC (8760); RT Minneapolis Franchise,
LLC (2746); RT Minneapolis Holdings, LLC (7189); RT New England Franchise, LLC (4970); RT New Hampshire
Restaurant Holdings, LLC (7438); RT New York Franchise, LLC (1154); RT Omaha Franchise, LLC (7442); RT
Omaha Holdings, LLC (8647); RT One Percent Holdings, LLC (6689); RT One Percent Holdings II, LLC (2817);
RT Orlando Franchise, LP (5105); RT Restaurant Services, LLC (7283); RT South Florida Franchise, LP (3535);
RT Southwest Franchise, LLC (9715); RT St. Louis Franchise, LLC (6010); RT Tampa Franchise, LP (5290); RT
Western Missouri Franchise, LLC (6082); RT West Palm Beach Franchise, LP (0359); RTTA, LP (0035); RTT
Texas, Inc. (2461); RTTT, LLC (9194); Ruby Tuesday of Allegany County, Inc. (8011); Ruby Tuesday of Bryant,
Inc. (6703); Ruby Tuesday of Columbia, Inc. (4091); Ruby Tuesday of Frederick, Inc. (4249); Ruby Tuesday of
Linthicum, Inc. (8716); Ruby Tuesday of Marley Station, Inc. (1641); Ruby Tuesday of Pocomoke City, Inc. (0472);
Ruby Tuesday of Russellville, Inc. (1601); and Ruby Tuesday of Salisbury, Inc. (5432). The Debtors’ mailing
address is 333 East Broadway Ave., Maryville, TN 37804.
2
    Capitalized terms not otherwise defined herein shall have the meanings given to them in the Application.




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“Bankruptcy Code”), Rules 2014(a) and 2016 of the Federal Rules of Bankruptcy Procedure (the

“Bankruptcy Rules”) and Rules 2014-1 and 2016-2(h) of the Local Rules of Bankruptcy Practice

and Procedure of the United States Bankruptcy Court for the District of Delaware (the “Local

Rules”), for the entry of an order (this “Order”): (i) authorizing the Debtors to employ and retain

FocalPoint Securities, LLC ( “FocalPoint”) as investment banker nunc pro tunc to the Petition

Date in accordance with the terms and conditions set forth in that certain Amended and Restated

Financial Advisory Services Engagement Letter dated as of October 9, 2020 (together, the

“Engagement Agreement”), (ii) approving the terms of the Engagement Agreement, including

the fee and expense structure and the indemnification, contribution, reimbursement and related

provisions set forth therein, (iii) modifying certain information requirements of Local Rule 2016-

2, and (iv) granting related relief, as more fully set forth in the Application; and upon

consideration of the NeJame Declaration attached to the Application as Exhibit B; this Court has

found that: (i) this Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334

and the Amended Standing Order of Reference from the United States District Court for the

District of Delaware, dated February 29, 2012, (ii) this Court is able to issue a final order

consistent with Article III of the United States Constitution, (iii) venue is proper in this district

pursuant to 28 U.S.C. §§ 1408 and 1409, (iv) this is a core proceeding pursuant to 28 U.S.C.

§ 157(b), and (v) notice of the Application and a hearing on the Application was sufficient under

the circumstances, and it appearing that no other or further notice need be provided; and after

due deliberation, this Court has determined that the legal and factual bases set forth in the

Application establish just cause for the relief granted herein and that the terms and conditions of



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FocalPoint’s engagement, including but not limited to the fee and expense structure set forth in

the Engagement Agreement and summarized in the Application, are reasonable as required by

section 328(a) of the Bankruptcy Code; and the Court having found that FocalPoint is a

“disinterested person” as that term is defined in section 101(14) of the Bankruptcy Code; and the

Court having found that the relief requested in the Application is in the best interests of the

Debtors, their creditors, their estates and all other parties in interest; and sufficient cause

appearing therefore; it is HEREBY ORDERED THAT:

                 1.          The Application is GRANTED as set forth herein.

                 2.          The Debtors are hereby authorized, pursuant to sections 327 and 328(a) of

the Bankruptcy Code, Bankruptcy Rule 2014 and Local Rule 2014-1, to employ and retain

FocalPoint as their investment banker in accordance with the terms and conditions set forth in

the Engagement Agreement, nunc pro tunc to the Petition Date and to pay fees and reimburse

expenses to FocalPoint on the terms and at the times specified in the Engagement Agreement,

subject to the modifications set forth herein.

                 3.          The terms of the Engagement Agreement, attached hereto as Exhibit 1, are

approved in all respects except as limited or modified herein.

                 4.          All of FocalPoint’s compensation set forth in the Engagement Agreement,

including, without limitation, the Fee and Expense Structure, is approved pursuant to section

328(a) of the Bankruptcy Code and FocalPoint shall be compensated and reimbursed pursuant to

section 328(a) of the Bankruptcy Code in accordance with the terms of the Engagement




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Agreement, subject to the procedures set forth in the Bankruptcy Code, the Bankruptcy Rules,

the Local Rules and any other applicable orders of the Court.

                 5.          None of the fees payable to FocalPoint shall constitute a “bonus” or fee

enhancement under applicable law.

                 6.          FocalPoint shall file fee applications for interim and final allowance of

compensation for services and reimbursement of expenses pursuant to the procedures set forth in

sections 330 and 331 of the Bankruptcy Code; provided, however, the fee applications filed by

FocalPoint shall be subject to review only pursuant to the standard of review set forth in section

328 of the Bankruptcy Code and not subject to the standard of review set forth in section 330 of

the Bankruptcy Code.

                 7.          Notwithstanding any provision to the contrary in this Order, the U.S.

Trustee shall have the right to object to FocalPoint’s request(s) for interim and final

compensation based on the reasonableness standard provided in section 330 of the Bankruptcy

Code, not section 328(a) of the Bankruptcy Code. This Order and the record relating to the

Court’s consideration of the Application shall not prejudice or otherwise affect the rights of the

U.S. Trustee to challenge the reasonableness of FocalPoint’s fees under the standard set forth in

the preceding sentence. Accordingly, nothing in this Order or the record shall constitute a

finding of fact or conclusion of law binding the U.S. Trustee, on appeal or otherwise, with

respect to the reasonableness of FocalPoint’s fees.

                 8.          FocalPoint is granted a waiver of the information requirements relating to

compensation requests set forth in Local Rule 2016-2(d) to the extent requested in the



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Application. Among other things, FocalPoint shall maintain records of services rendered for the

Debtors, including summary descriptions of those services, the approximate time expended in

providing those services (in half-hour (.5) increments) and the identity of the individuals who

provided those services. FocalPoint shall include such records in its fee applications.

                 9.          The Debtors shall be bound by the indemnification, contribution,

reimbursement, exculpation and other provisions of the Engagement Agreement and will

indemnify and hold harmless FocalPoint and the other Indemnified Parties (as defined in the

Engagement Agreement), pursuant to the Engagement Agreement, subject, during the pendency

of the cases, to the following:

                             (a)    FocalPoint shall not be entitled to indemnification, contribution or
                                    reimbursement pursuant to the Engagement Agreement for
                                    services, unless such services and the indemnification, contribution
                                    or reimbursement therefore are approved by this Court;

                             (b)    The Debtors shall have no obligation to indemnify FocalPoint, or
                                    provide contribution or reimbursement to FocalPoint, for any claim
                                    or expense that is either: (i) judicially determined (the
                                    determination having become final) to have arisen from
                                    FocalPoint’s gross negligence, fraud, willful misconduct, breach of
                                    fiduciary duty, if any, bad faith or self-dealing; (ii) for a
                                    contractual dispute in which the Debtors allege the breach of
                                    FocalPoint’s contractual obligations, unless the Court determines
                                    that indemnification, contribution or reimbursement would be
                                    permissible pursuant to In re United Artists Theatre Co., 315 F.3d
                                    217 (3d Cir. 2003); or (iii) settled prior to a judicial determination
                                    as to the exclusions set forth in clauses (i) and (ii) above, but
                                    determined by this Court, after notice and a hearing, to be a claim
                                    or expense for which FocalPoint should not receive indemnity,
                                    contribution or reimbursement under the terms of the Engagement
                                    Agreement as modified by this Order; and

                             (c)    If, before the earlier of (i) the entry of an order confirming a
                                    chapter 11 plan in these Cases (that order having become a final
                                    order no longer subject to appeal) and (ii) the entry of an order
                                    closing these Cases, FocalPoint believes that it is entitled to the


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                                    payment of any amounts by the Debtors on account of the Debtors’
                                    indemnification, contribution and/or reimbursement obligations
                                    under the Engagement Agreement (as modified by this Order),
                                    including, without limitation, the advancement of defense costs,
                                    FocalPoint must file an application therefore in this Court, and the
                                    Debtors may not pay any such amounts to FocalPoint before the
                                    entry of an order by this Court approving the payment. This
                                    subparagraph (c) is intended only to specify the period of time
                                    under which this Court shall have jurisdiction over any request for
                                    fees and expenses by FocalPoint for indemnification, contribution
                                    or reimbursement, and not a provision limiting the duration of the
                                    Debtors’ obligation to indemnify FocalPoint. All parties in interest
                                    shall retain the right to object to any demand by FocalPoint for
                                    indemnification, contribution or reimbursement.


                 10.         Notwithstanding any Bankruptcy Rule or Local Rule that might otherwise

delay the effectiveness of this Order, the terms and conditions of this Order shall be effective and

enforceable immediately upon its entry.

                 11.         The relief granted herein shall be binding upon any chapter 11 trustee

appointed in the cases or upon any chapter 7 trustee appointed in the event of a subsequent

conversion of the cases to cases under chapter 7.

                 12.         To the extent that there may be any inconsistency between the terms of the

Application, the NeJame Declaration, the Engagement Agreement, and this Order, the terms of

this Order shall govern.

                 13.         The Debtors are hereby authorized to take such actions and to execute

such documents as may be necessary to implement the relief granted by this Order.




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                 14.         This Court shall retain jurisdiction with respect to all matters arising from

or related to the implementation and/or interpretation of this Order.

Dated: _______________, 2020

                                                     Hon. John T. Dorsey
                                                     United States Bankruptcy Judge




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                                        EXHIBIT 1

                                   Engagement Agreement




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FocalPoint Securities, LLC
11150 Santa Monica Blvd. Suite 1550
Los Angeles, CA 90025
O:310.405.7000 F:310.405.7077
www.focalpointllc.com




OCTOBER 9, 2020


SHAWN LEDERMAN
CHIEF EXECUTIVE OFFICER
RUBY TUESDAY, INC.
333 EAST BROADWAY AVENUE
MARYSVILLE, TN 37804

          Re: Amended and Restated Financial Advisory Services Engagement Letter

Dear MR. LEDERMAN:

We refer to our letter agreement dated June 4, 2020 (the “Original Agreement”) by and between RUBY
TUESDAY, INC. (together with its subsidiaries and affiliates, the “Company”), and FocalPoint
Securities, LLC (“FocalPoint”) with respect to the provision of certain financial advisory and investment
banking services. The Company and FocalPoint hereby agree to amend and restate the Original
Agreement (this “Amendment”) in its entirety, pursuant to which FocalPoint has been retained, on the
terms and subject to the conditions set forth herein, as the Company’s exclusive investment banker in
order to provide the following services (“Services”):


     •    Assist the Company in evaluating, structuring, negotiating and implementing the terms
          (including pricing) and conditions of any proposed transaction, including any proposed Sale ,
          any potential Restructuring or any Financing (any of the foregoing, a “Transaction”);

     •    Assist the Company in preparing, revising, or updating marketing materials;

     •    Prepare, revise, or update a list or lists of potential purchasers and financiers;

     •    Contact potential purchasers and financiers to solicit their interest in any Transaction and to
          provide them with the confidential information memorandum under a non-disclosure
          agreement;

     •    Compile and disseminate due diligence materials to prospective purchasers and maintain a
          secure data vault for review of due diligence materials;

     •    Participate in due diligence visits, meetings and consultations between the Company and
          interested potential purchasers, and coordinate and track distribution of all information related
          to a Transaction with such parties;

     •    Assist the Company with evaluating offers, indications of interest, negotiating agreements and
          definitive contracts;


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RUBY TUESDAY, INC.
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    •    Determine a range of values for the Company and any instruments that the Company offers or
         proposes to offer in connection with a Restructuring;

    •    Evaluate the Company’s debt capacity in light of its projected cash flows and assist in the
         determination of an appropriate capital structure for the Company;




    •    Attend auctions and upon request, attend meetings of the Company’s Board of Directors (or equivalent
         body) and its committees, creditor groups, official constituencies and other interested parties, as necessary;
         and

    •    To the extent required, provide affidavits and other testimony in support of Debtors’ motions,
         in any U.S. Bankruptcy Court having jurisdiction over Company’s Chapter 11 cases (the
         “Bankruptcy Court”), with respect to any matters in connection with or arising out of the
         foregoing or the Original Agreement.

Unless otherwise noted, all capitalized terms used herein shall have the meaning set forth in the
Appendix A to this Amendment.

Professional Fees and Expenses

In consideration of the Services provided by FocalPoint, the Company, and its successors, if any, agrees
to pay FocalPoint the following fees in cash:

    1. Commencing as of the date of the Original Agreement, whether or not a Transaction is proposed
         or consummated, an advisory fee (the “Monthly Advisory Fee”) of $50,000 per month during
         the term hereof. Pursuant to the Original Agreement, the Company has paid five (5) Monthly
         Advisory Fees and pursuant to this Amendment, the next Monthly Advisory Fee is earned, due
         and payable on November 4, 2020. Thereafter, a Monthly Advisory Fee shall be earned, due and
         payable on each monthly anniversary of such date.


    2.   A fee (the “Completion Fee”) of $600,000, payable upon the earlier of: (a) the completion of any
         Restructuring including, without limitation, the confirmation and effectiveness of a Plan of
         Reorganization under the Chapter 11 of the Bankruptcy Code (a “Plan”) or (b) the closing of any
         Restructuring or Sale transaction, provided that the Completion Fee shall be fully creditable
         against any Financing Fee or against any Sale Fee without duplication.


    3.   In the event that the Company consummates a Financing, a fee (the “Financing Fee”) to be paid
         either as underwriting discounts, placement fees or other compensation upon the closing of any
         Financing equal to the greater of (i) $600,000 and (ii) the sum of:

              a.   2.00% of the gross amount of funded or committed straight indebtedness that is secured
                   by a first lien up to $40 million; plus

              b. 3.00% of (i) the gross amount of funded or committed straight indebtedness that is
                 secured by a first lien in excess of $40 million and (ii) the gross amount of any other
                 funded or committed straight indebtedness that is not secured by a first lien,

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             c.   5.25% of the gross amount of any funded or committed preferred or common equity,
                  convertible or otherwise equity-linked debt or equity securities or obligations.

             d. Any amounts advanced, or committed to, by the Company’s existing lenders –
                Goldman Sachs Specialty Lending Group and TCW/Crescent Mezzanine – or by NRD
                Capital Management or its affiliates (to include LPs of its various investment funds), or
                funds that the Company may directly source with its own efforts via a governmental
                lending program (such as the Main Street Lending Program under the CARES Act) shall
                be excluded in calculating any Financing Fee.

    4.   In the event that the Company consummates a Sale, a fee (the “Sale Fee”) to be paid upon the
         closing of any Sale equal to the greater of (i) $600,000 and (ii) 2.5% of Transaction Value.

    5.   The parties acknowledge that, pursuant to the provisions herein, FocalPoint may become
         entitled to either a Financing Fee or Sale Fee, but not both.

    6.   FocalPoint shall credit 50% of the first four Monthly Advisory Fees paid to FocalPoint against
         any Financing Fee or Sale Fee, without duplication.




Expenses will be invoiced separately by FocalPoint each month and will be reimbursed by the Company
in accordance with Appendix A in addition to the fees set forth above. The expenses incurred will consist
of, but are not limited to, the following: postage and shipping charges, use of third-party databases,
telephone, copying, facsimiles, printing, travel, lodging, overtime meals, transportation, and other
miscellaneous engagement expenses, including, but not limited to, the reasonable fees and expenses of
its outside legal counsel incurred in connection with the performance of this Amendment and the
matters contemplated hereby. FocalPoint shall not incur more than $15,000 of Expenses without the
Company’s preapproval.

This Amendment, together with Appendix A attached hereto, constitutes the entire agreement of the
parties hereto with respect to this engagement, supersedes all other oral or written representations,
understanding or agreements relating to this Amendment, and may not be amended except by written
agreement signed by both parties. To the extent any of the foregoing provisions in this letter conflicts
with those set forth in Appendix A, the foregoing letter provisions shall control.




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We appreciate the opportunity to provide you with our professional services. If this Amendment meets
with your approval, please sign a copy of this Amendmentinitial a copy of Appendix A and return it to
us. If you have any further questions or comments, please feel free to contact Richard F. NeJame at 917-
741-8094.

Very truly yours,

FOCALPOINT SECURITIES, LLC




By: __________________________                           By:
    RICHARD F. NEJAME                                      DAVID PORTER
    Managing Director                                      Chief Compliance Officer


Confirmed and agreed to on OCTOBER 9, 2020


RUBY TUESDAY, INC.


By: __________________________
    SHAWN LEDERMAN
    CHIEF EXECUTIVE OFFICER


                                               Company’s Tax Identification Number:        [XX-XXXXXXX]




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                                             APPENDIX A
                                        GENERAL BUSINESS TERMS



This Appendix A is pursuant to the Amendment, dated SEPTEMBER XX, 2020, between Ruby Tuesday,
Inc. and FocalPoint Securities, LLC. Unless otherwise noted, all capitalized terms used herein shall have the
meaning set forth in the Amendment.

1.   Definitions. For purposes of this Amendment, capitalized terms shall have the following definitions:

     a.   “Transaction Fee” or “Transaction Fees” shall collectively refer to any Financing Fee or Sale Fee on
          a combined or individual basis.

     b. "Transaction Value" shall be the total proceeds and other consideration paid or received (including
        assets retained as described below), or to be paid or received, by the Company or its security
        holders, employees or creditors in connection with a Transaction (which consideration shall be
        deemed to include amounts in escrow), including, without limitation, the gross value of all cash and
        the fair market value of: (i) equity securities (including, but not limited to, common stock, preferred
        stock, warrants, options, stock appreciation rights, in each case whether or not vested or issued),
        equity interests, carried interests and equity reinvestment, in the Company, its successor or buyer;
        (ii) straight or convertible debt instruments or other obligations held by the Company or its security
        holders, whether or not vested or issued; (iii) interest-bearing debt (including capitalized leases)
        and pension (including SERP liabilities or obligations) and other unfunded liabilities assumed or
        refinanced in connection with a Transaction; (iv) guarantees and other similar liabilities of the
        Company; (v) assets or businesses retained by the Company, in the event of an asset sale, or
        distributed to the Company’s shareholders, in the event of a stock sale, merger or similar
        reorganization; (vi) amounts paid with respect to other assets or businesses in which the Company
        or its security holders or creditors have an interest and that are included in the Transaction; (vii)
        amounts paid to the Company, its security holders, employees or directors in connection with non-
        competition agreements; (viii) amounts paid with respect to severance, employee benefit plans,
        management retention, consulting, lease, royalty, licensing or any similar agreements; (ix) excess
        amounts paid for above market employment and consulting agreements; (x) amounts paid, at any
        time during FocalPoint’s period of engagement, as extraordinary dividends or other compensation
        paid to the Company's security holders in contemplation of a Transaction; and (xi) any obligations
        of the Company or its security holders', including transaction expenses, which are forgiven or
        assumed by a purchaser or, in the event of a stock sale, merger or similar organization, which are
        left outstanding after a Transaction. In the event of a sale of less than 100% of the equity interests
        of the Company, the Transaction Value shall be calculated as if 100% of the ownership of the equity
        interests of the Company has been sold dividing (i) the Transaction Value by (ii) the percentage of
        ownership which is sold. The face amount of all escrowed funds, promissory notes, seller notes,
        fixed future payments, or other non-contingent future payments will be considered received by
        Company at Closing and included in Transaction Value for purposes of calculating FocalPoint’s
        Transaction Success Fee.

     c.   For the purpose of calculating the Transaction Value, any securities will be valued at the time of the
          closing of the Transaction as follows: (i) if such securities are traded on a stock exchange or the
          National Market System, the securities will be valued at the average last sale or closing price for the
          ten trading days immediately prior to the closing of the Transaction; (ii) if such securities are traded
          primarily in over-the-counter transactions (OTC), the securities will be valued at the mean of the
          closing bid and asked quotations similarly averaged over a ten trading day period immediately
          prior to the closing of the Transaction; and (iii) if such securities have not been traded prior to the
          closing of the Transaction, FocalPoint will prepare a valuation of the securities and FocalPoint and
          the Company will mutually agree on a fair valuation thereof for the purposes of calculating
          FocalPoint’s Transaction Success Fee (or, if FocalPoint and the Company cannot agree, as
          determined by an independent third-party accounting or valuation firm mutually chosen by the
          parties). Any other non-cash consideration shall be valued at the fair market value thereof as of the

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          day prior to the closing of the Transaction, as such fair market value shall be mutually agreed by
          FocalPoint and the Company acting in good faith (or, if FocalPoint and the Company cannot agree,
          as determined by an independent third-party accounting or valuation firm mutually chosen by the
          parties).

     d. In the event that the Company proceeds with a Transaction that includes earn-out provisions or
        other performance-based contingent consideration (“Earnouts”), the Company and FocalPoint will
        negotiate in good faith to agree on the value of such Earnout for the purpose of calculating that
        portion of the Transaction Success Fee to be paid to FocalPoint upon the Closing in consideration
        thereof, and, if they cannot so agree, the value of the Earnout shall be included in Transaction Value
        for the purposes of FocalPoint’s fee calculation hereunder only if and when paid to the Company or
        its security holders.

     e.   “Financing” shall mean: (i) a private issuance, sale or placement of the equity, equity-linked or debt
          securities (including any 144A offering), instruments or obligations of the Company with one or
          more Counterparties except to the extent issued to existing security holders of the Company in
          exchange for their existing securities, or (ii) any secured or unsecured loan, lease, credit facility,
          letter-of-credit facility or other financing, also except to the extent issued to existing security holders
          of the Company in exchange for their existing like-kind securities, including if so requested by the
          Company, any “debtor in possession financing” or “exit financing” (regardless of by whom
          provided) in connection with a case under the Bankruptcy Code, and (iii) any rights offering.

     f.   “Restructuring” shall mean any recapitalization or restructuring (including, without limitation,
          through any exchange, conversion, cancellation, forgiveness, retirement and/or a material
          modification or amendment to the terms, conditions or covenants thereof) of the Company’s debt
          securities and/or equity securities and/or other indebtedness, obligations or liabilities (including,
          without limitation, preferred stock, partnership interests, lease obligations, trade credit facilities,
          tort obligations or other secured and unsecured claims or indebtedness) including pursuant to any
          repurchase, exchange transaction, a Plan or solicitation of consents, waivers, acceptances or
          authorizations.

     g. “Sale” shall mean the disposition to one or more third parties in one or a series of transactions of (i)
        all or substantially all of the equity securities of the Company, or (ii) all or substantially all of the
        assets (including the assignment of any executory contacts) or businesses of the Company or its
        subsidiaries, in either case, including through a sale or exchange of capital stock, options or assets,
        a lease of assets with or without a purchase options, a merger, consolidation or other business
        combination, an exchange or tender offer, a recapitalization, the formation of a joint venture,
        partnership or similar entity or any similar transaction. For avoidance of doubt, “Sale” shall include
        a credit bid by any secured lender, a sale under section 363 of the Bankruptcy Code or a Plan that
        incorporates a Sale.

2.   Payment of Invoices. FocalPoint’s invoices are due upon presentation. Invoices upon which payment
     is not received within thirty days of the invoice date shall accrue a late charge from the invoice date of
     the lesser of: (a) 1½% per month or (b) the highest rate allowable by law, in each case compounded
     monthly to the extent allowable by law. Any Monthly Advisory Fees, Transaction Fees or unpaid
     expenses owing to FocalPoint shall be paid at each applicable Closing, except as set forth in the
     Amendment with respect to Earnouts. Transaction Fees (and any unpaid expenses or other fees, and
     with the exception of Earnouts) shall be paid in full to FocalPoint at the Closing directly by the Company
     out of the proceeds of the initial funding under any Transaction or from other cash available to the
     Company, including, without limitation, through borrowings under existing or new lines of credit. The
     Company agrees that the consummation of the Closing shall be expressly conditioned on the concurrent
     payment by the Company of such amount to FocalPoint. Notwithstanding the foregoing, in the event
     the Company commences a case under Chapter 11, then the payment of fees and reimbursement of
     expenses shall be governed by the terms of the order employing FocalPoint in said Chapter 11 case.
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3.   Term. This Amendment shall commence on the date hereof and shall terminate upon the date this
     Amendment is terminated by either party at any time for any reason by giving written notice to the
     other party not less than thirty (30) days before the effective date of such termination. Upon termination
     of the Amendment, the Company will reimburse FocalPoint for all unpaid expenses incurred in
     connection with the Original Agreement or this Amendment through the effective date of termination,
     subject to Bankruptcy Court approval. Notwithstanding the foregoing, if within twelve (12) months
     following the termination by either party of this Amendment (the “Fee Period”): the Company (x)
     consummates a Transaction or (y) enters into a definitive agreement to effect a Transaction that is
     consummated concurrently therewith or at any time thereafter (including following the expiration of
     the Fee Period) with capital providers with which FocalPoint discussed a Transaction, FocalPoint will
     be entitled to receive upon the Closing thereof the Transaction Fee, subject to Bankruptcy Court
     approval. The provisions of this Amendment relating to payment of the Transaction Fee on any
     Earnouts, Transactions during the Fee Period, limitation on warranties, limitation on damages and
     indemnification set forth in Section 9 of this Appendix A, Company responsibilities, limitation on
     actions, confidentiality obligations set forth in Section 14 of this Appendix A, public references, credit,
     interpretation, assignment, waiver of jury trial/legal fees, arbitration and governing law shall survive
     any termination hereof.

4.   Exclusivity. The Company agrees that FocalPoint shall be the Company’s sole and exclusive investment
     banker in connection with any proposed Transaction. The Company shall promptly identify to
     FocalPoint: (a) all potential Counterparties who have been in contact with the Company during the six
     months prior to FocalPoint’s engagement; and (b) all potential Counterparties who make inquiries to
     the Company during the term of the Amendment. FocalPoint shall maintain a comprehensive list of all
     such potential Counterparties, to include Counterparties it adds of its own accord.

5.   Reasonableness of Fees. The parties acknowledge that a substantial professional commitment of time
     and effort will be required of FocalPoint and its professionals to provide the Services, and that such
     commitment may foreclose other opportunities for FocalPoint. Moreover, the actual time and
     commitment required to provide the Services may vary substantially, creating “peak load” issues for
     FocalPoint. Given the numerous issues that may arise in engagements such as this, FocalPoint’s
     commitment to the variable level of time and effort necessary to address such issues, the expertise and
     capabilities of FocalPoint that will be required in this engagement, and the market rate for FocalPoint’s
     services of this nature, the parties agree that the fee arrangement provided for herein is reasonable, fairly
     compensates FocalPoint, and provides the requisite certainty to the Company. Furthermore, FocalPoint
     shall not be required to maintain time records.

6.   Retention of FocalPoint. In the event that the Company becomes or is a debtor under Chapter 11 of the
     Bankruptcy Code, the Company shall use good faith efforts to promptly apply to the Bankruptcy Court
     for the approval pursuant to sections 327 and 328 of the Bankruptcy Code of this Amendment and
     FocalPoint’s retention by the Company under the terms of this Amendment and subject to the standard
     of review provided in section 328(a) of the Bankruptcy Code and not subject to any other standard of
     review under section 330 of the Bankruptcy Code (the “Application”). The Company shall supply
     FocalPoint with a draft of the Application and any proposed order authorizing FocalPoint’s retention
     sufficiently in advance of the filing to enable FocalPoint and its counsel to review and comment thereon.
     FocalPoint shall cooperate with the Company in the preparation of the Application and will provide the
     Company and its counsel with the information and support necessary to prepare the Application.
     FocalPoint shall have no obligation to provide any services under this Amendment unless the terms of
     this Amendment are approved under section 328(a) of the Bankruptcy Code by a final order of the
     Bankruptcy Court no longer subject to appeal, rehearing, reconsideration (other than under Fed. R. Civ.
     P. 60 or Fed. R. Bankr. P. 9024) or petition for certiorari, and which order is acceptable to FocalPoint in
     all respects. FocalPoint acknowledges that in the event that the Bankruptcy Court approves its retention
     by the Company, FocalPoint’s fees and expenses shall be subject to the jurisdiction and approval of the
     Bankruptcy Court under section 328(a) of the Bankruptcy Code and any applicable fee and expense
     guidelines and orders.
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7.   Fee Protections. The Company shall use good faith efforts to obtain “carve-outs” from secured lenders
     and/or an order from the Court, in each case acceptable to FocalPoint, that provide that the Monthly
     Advisory Fees, Transaction Fees and other obligations owed to FocalPoint under this Amendment will
     be paid either directly from the proceeds of any Transaction, paid from other cash available to the
     Company including under new or existing credit lines, or paid from a “carve-out” from the collateral of
     the secured creditor (collectively, the “Fee Protections”), without further order from the Court, subject
     to authorization under section 328 of the Bankruptcy Code. FocalPoint shall be under no obligation to
     provide the services under this Amendment without Fee Protections acceptable to FocalPoint in its sole
     discretion, such acceptance not to be unreasonably withheld.

8.   Company Responsibilities and Cooperation.

     a.   The Company shall cooperate with FocalPoint in the performance by FocalPoint of the Services,
          including, without limitation, by providing FocalPoint with reasonable facilities and timely access
          to data, information and personnel of the Company. The Company shall be responsible for the
          performance of its personnel and agents and for the accuracy and completeness of all data and
          information provided to FocalPoint for purposes of the performance by FocalPoint of the Services.
          The Company acknowledges and agrees that FocalPoint’s performance is dependent upon the
          timely and effective satisfaction of the Company’s responsibilities hereunder and timely decisions
          and approvals of the Company in connection with the Services. FocalPoint shall be entitled to rely
          on all decisions and approvals of, and data and information provided by, the Company without
          independent verification. The Company will promptly notify FocalPoint in writing of any material
          inaccuracy or misstatement in, or material omissions from, any information previously delivered to
          FocalPoint, or any materials provided to any interested party.

     b. The Company, in consultation with its legal counsel and other advisors, as appropriate, shall,
        without limitation, be solely responsible for the following in connection with the Services: (i)
        preparation of any historical and prospective financial statements, including, without limitation,
        financial projections supported by appropriate assumptions which, to the Company’s best
        knowledge and belief represent the Company’s results of operations and changes in financial
        position; (ii) providing or preparing all data, material and other information concerning, without
        limitation, the business, assets, liabilities, and cash flows of the Company that FocalPoint reasonably
        requests in connection with the Services; (iii) preparation, negotiation, review, and execution of all
        documentation with respect to any transaction; (iv) determination of the value range or range of
        terms within which negotiations shall occur with respect to any transaction as well as the ultimate
        value, pricing and/or terms to be agreed to in connection with any transaction; and (v) designation
        of a management-level individual or individuals to be responsible for all decisions with respect to
        the Services and FocalPoint’s involvement in activities associated with the Services, including,
        without limitation, the adequacy thereof.

     c.   The Company agrees that it is solely responsible for ensuring that any Transaction complies with
          applicable law. The Company further agrees that FocalPoint is not being engaged to: (i) provide,
          any fairness opinion with respect to a Transaction or its terms or any valuation of the Company, its
          securities or its assets, (ii) provide, nor shall it be responsible for providing, legal, tax or accounting
          advice, (iii) participate in the preparation or interpretation of any legal documents or (iv) conduct
          any appraisal of assets or liabilities of the Company or any other person. Furthermore, FocalPoint’s
          services are limited to those specifically provided for in this Amendment, or subsequently agreed
          upon, in writing, by the parties hereto. FocalPoint shall have no obligation or responsibility for any
          other services.

     d. It is expressly understood that, unless otherwise provided for herein, FocalPoint’s reports,
        recommendations, analyses, conclusions and other documents, if any, whether written or oral, do
        not, in whole or in part, constitute a fairness or solvency opinion or feasibility determination and
        the Services will be advisory in nature. FocalPoint will not render any advice as to whether, or at
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          what price, any Transaction should be entered into. The Company acknowledges that FocalPoint
          cannot commit the Company to the terms of any transaction, or consummate any transaction on
          behalf of the Company, and that the Company, through its management, shall make all decisions
          that commit the Company with respect to any transaction.

     e.   The Company agrees that none of it, its controlling equity holders, its affiliates or its management
          will initiate any discussions regarding a Transaction during the term of this Amendment except
          with prior notice to FocalPoint. In the event the Company, its controlling equity holders, its affiliates
          or its management receives any inquiry regarding a Transaction from any party, the Company shall
          promptly inform FocalPoint of such inquiry so that FocalPoint can assist the Company in evaluating
          such party and its interest in a Transaction and in any resulting negotiations.

     f.   The Company represents and agrees as follows:

            i.     If applicable, the Company shall assist FocalPoint with the preparation of a private
                   placement memorandum or similar marketing document (the “Memorandum”). The
                   Company shall not distribute the Memorandum to any potential lender, investor or other
                   third party without notice to FocalPoint.

           ii.     The Company agrees that it is solely responsible for the accuracy, completeness and
                   appropriateness of any Memorandum, including, without limitation, all information
                   contained in or omitted from any such Memorandum.

9.   Limitation on Damages and Indemnification.

     a.   As a material part of the consideration for the agreement of FocalPoint to provide the Services, the
          Company shall: (i) indemnify and hold harmless FocalPoint and its affiliates, and their respective
          past, present and future directors, officers, shareholders, partners, members, employees, agents,
          representatives, advisors, subcontractors and controlling persons (collectively, the “Indemnified
          Parties”), to the fullest extent lawful, from and against any and all claims, losses, damages, expenses
          or liabilities (or actions in respect thereof), joint or several, (collectively “Claims”) arising out of or
          related to the Original Agreement or this Amendment, FocalPoint’s engagement under the Original
          Agreement or this Agreement, any transaction or any action taken or omitted to be taken by an
          Indemnified Party or the Company in connection with the Original Agreement or this Amendment
          and (ii) reimburse each Indemnified Party for all expenses (including, without limitation, the fees
          and expenses of counsel) as they are incurred in connection with investigating, preparing, pursuing,
          defending, settling or compromising any action, suit, dispute, inquiry, investigation or proceeding,
          pending or threatened, brought by or against any person (including, without limitation, any
          shareholder or derivative action), arising out of or relating to the formulation or consummation of
          any transaction, the Original Agreement or this Amendment , or other such engagement, transaction
          or action. However, the Company shall not be liable under the foregoing indemnity and
          reimbursement agreement for any Claim which is finally judicially determined by a court of
          competent jurisdiction to have resulted solely from the bad faith, gross negligence or intentional
          misconduct of FocalPoint.

     b. In circumstances where all or any portion of the provisions of this paragraph are finally judicially
        determined to be unenforceable, insufficient or unavailable for any reason the Company shall
        contribute to any Claims relating to this engagement in such proportion that reflects the relative
        benefits to the Company, on the one hand, and to FocalPoint, on the other hand (whether or not a
        transaction is consummated). For purposes of this paragraph, the relative benefits to the Company
        and FocalPoint arising out of this engagement shall be deemed to be in the same proportion as the
        total value received or contemplated to be received by the Company as a result of or in connection
        with the Transaction contemplated by this Amendment bears to the fees actually paid to FocalPoint
        by the Company hereunder. If the allocation provided in the two immediately preceding sentences
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     is unenforceable or unavailable for any reason, the Company shall contribute to such Claims, as is
     appropriate to reflect not only the relative benefits received or contemplated to be received, as
     provided above, but also the relative fault that FocalPoint’s conduct bears to all other conduct giving
     rise to such Claims.

c.   The Company shall not settle, compromise or consent to the entry of any judgment in or otherwise
     seek to terminate any pending or threatened action, suit, dispute, inquiry, investigation or
     proceeding in respect of which indemnification or contribution may be sought hereunder if an
     Indemnified Party is an actual or potential party thereto, unless such settlement, compromise,
     consent or termination contains a release of the Indemnified Parties reasonably satisfactory in form
     and substance to FocalPoint.

d. No Indemnified Party shall have any liability (whether direct or indirect and regardless of the legal
   theory advance) to the Company or any of its creditors, employees, directors or shareholders or any
   person or entity asserting claims for any Claims in an aggregate amount in excess of the fees paid
   by the Company to FocalPoint pursuant to this Amendment, except and solely to the extent that
   they are determined to have resulted primarily from the bad faith, gross negligence or intentional
   misconduct of FocalPoint. In no event shall any Indemnified Party be liable for consequential,
   special, indirect, incidental, punitive, or exemplary loss, damage, or expense relating to this
   engagement.

e.   The indemnity, reimbursement, and other obligations and agreements of the Company set forth
     herein: (i) shall apply to any services provided by FocalPoint to the Company prior to the date hereof
     and to any modifications of the Original Agreement or this Amendment; (ii) shall be in addition to
     any obligation or liability which such parties may otherwise have to any Indemnified Party, (iii)
     shall remain operative and in full force and effect regardless of any investigation made by or on
     behalf of such parties or any Indemnified Party or any person controlling any of them, and (iv) shall
     survive the completion of the Services and any expiration or termination of the relationship
     established by this Amendment.

f.   Notwithstanding any provisions herein to the contrary, in the event the Company is or becomes a
     debtor under Chapter 11 of the Bankruptcy Code, whether voluntarily or involuntarily, the
     following provision will apply to the indemnification provided by this Appendix A.

          i. The Company shall have no obligation to indemnify FocalPoint or provide contribution or
             reimbursement to FocalPoint: (A) for any claim or expense that is judicially determined (the
             determination having become final) to have arisen from FocalPoint’s bad faith, self-dealing,
             breach of fiduciary duty (if any), gross negligence or willful misconduct, (B) for a
             contractual dispute in which the Company alleges the breach of FocalPoint’s contractual
             obligations unless the Court determines that indemnification, contribution or
             reimbursement would be permissible pursuant to In re United Artists Theatre Company, et
             al., 315 F.3d 217 (3d Cir. 2003), or (C) for any claim or expense that is settled prior to a
             judicial determination as to the exclusions set forth in clauses (A) and (B) above, but
             determined by the Court, after notice and a hearing, to be a claim or expense for which
             FocalPoint should not receive indemnity, contribution or reimbursement under the terms
             of the Amendment.

         ii. If, before the earlier of: (A) the entry of an order confirming a chapter 11 plan in the Chapter
             11 case(s) (that order having become final and no longer subject to appeal), and (B) the entry
             of an order closing the chapter 11 case(s), an Indemnified Party believes that it is entitled to
             the payment of any amounts by the Company on account of an Indemnifying Party’s
             indemnification, contribution and/or reimbursement obligations under this Appendix A,
             including, without limitation, the advancement of defense costs, such Indemnified Party
             must file an application therefore with the Bankruptcy Court, and the Company may not
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                 pay any such amounts to such Indemnified Party before entry of an order by the Bankruptcy
                 Court approving the payment. This paragraph is intended only to specify the period of
                 time under which the Bankruptcy Court shall have jurisdiction over any request for
                 payment by an Indemnified Party, and not a provision limiting the duration of the
                 Company’s obligation to indemnify such Indemnified Party. All parties in interest in the
                 chapter 11 case(s) shall retain the right to object to any demand by an Indemnified Party for
                 indemnification, contribution and/or reimbursement.

10. Limitation on Warranties. THIS IS A SERVICES ENGAGEMENT. FOCALPOINT WARRANTS
    THAT IT SHALL PERFORM THE SERVICES WITH DUE PROFESSIONAL CARE. FOCALPOINT
    DISCLAIMS ALL OTHER WARRANTIES, EITHER EXPRESS OR IMPLIED, INCLUDING,
    WITHOUT LIMITATION, WARRANTIES OF MERCHANTABILITY AND FITNESS FOR A
    PARTICULAR PURPOSE. THE COMPANY’S EXCLUSIVE REMEDY FOR ANY BREACH OF THIS
    WARRANTY SHALL BE FOR FOCALPOINT, UPON RECEIPT OF WRITTEN NOTICE, TO USE
    COMMERCIALLY REASONABLE EFFORTS TO CURE SUCH BREACH, OR, FAILING ANY CURE
    IN A REASONABLE PERIOD OF TIME, THE RETURN OF PROFESSIONAL FEES PAID TO
    FOCALPOINT HEREUNDER WITH RESPECT TO THE SERVICES GIVING RISE TO SUCH
    BREACH.

11. Limitation on Actions. Except as otherwise required by law or with respect to indemnification, no
    action, regardless of form, relating to this engagement, may be brought by either party more than one
    year after the party bringing such action receives notice or otherwise becomes aware of the facts or
    circumstances giving rise to such cause of action, except that an action for non-payment may be brought
    by a party not later than one year following the date (including any extensions thereof) of the last
    payment due to such party bringing such action.

12. Force Majeure. Neither party shall be liable for any delays or nonperformance resulting from
    circumstances or causes beyond its reasonable control, including, without limitation, fire or other
    casualty, act of God, strike or labor dispute, war or other violence, or any law, order, or requirement of
    any governmental agency or authority.

13. Independent Contractor. It is understood and agreed that each party hereto is an independent
    contractor and that neither party is, nor shall be considered to be, the other’s agent, distributor, partner,
    fiduciary, joint venturer, co-owner, or representative. Neither party shall act or represent itself, directly
    or by implication, in any such capacity or in any manner assume or create any obligation on behalf of,
    or in the name of, the other.

14. Confidentiality. Reference is made here to the Confidentiality Agreement executed by FocalPoint and
    Company on May 14, 2020.

15. Information. In the event that the Information belonging to the Company is stored electronically on
    FocalPoint’s computer systems, FocalPoint shall not be liable for any damages resulting from
    unauthorized access, misuse or alteration of any such information by persons not acting on its behalf,
    provided, that FocalPoint has exercised the same degree of care in protecting the confidentiality of, and
    in preventing unauthorized access to, the Information that it exercises with regard to its own most
    sensitive proprietary information.

16. Public References. Any advice (whether written or oral) rendered by FocalPoint pursuant to this
    Amendment is intended solely for the use of the Company in considering the matters to which the
    Amendment relates, and such advice may not be relied upon by any other person or used for any other
    purpose. No advice rendered by, or communication from, FocalPoint in connection with the services
    performed by FocalPoint pursuant to this Amendment will be disseminated to any third party or
    summarized, quoted or otherwise referred to, in any report, document, release or other communication,
    whether written or oral, prepared, issued or transmitted by the Company or any person or corporation
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    controlling, controlled by or under common control with the Company or any director, officer,
    employee, or representative of any thereof, without FocalPoint’s prior written authorization, or except
    as otherwise required by law. If FocalPoint resigns prior to the dissemination of any Memorandum,
    forms of the definitive agreement or any other documents or information prepared in connection with
    the Transaction, no reference shall be made therein to FocalPoint.

17. Credit. FocalPoint may, at its own expense, place announcements on its corporate website, in marketing
    materials, and in financial and other newspapers and periodicals or distribute announcements via
    electronic mail (such as customary “tombstone” advertisements) describing its services in connection
    with this Amendment. The Company agrees that, if requested by FocalPoint, that any press release by
    the Company announcing the Transaction shall include a mutually acceptable reference to FocalPoint's
    role as financial advisor to the Company with respect thereto.

18. Interpretation. The Company acknowledges and agrees that no affiliated or related entity of FocalPoint
    shall have any liability hereunder to the Company or any other person and the Company will not bring
    any action against any such affiliated or related entity in connection with this engagement. Without
    limiting the foregoing, affiliated and related entities of FocalPoint are intended third-party beneficiaries
    of these terms, including, without limitation, the limitation on liability and indemnification and
    reimbursement provisions of paragraph 9, and the agreements and undertakings of the Company
    contained in the Amendment. Any affiliated or related entity of FocalPoint may in its own right enforce
    such terms, agreements and undertakings. Any duties arising hereunder on the part of FocalPoint shall
    be owed solely to the Company. This Agreement has been reviewed by the signatories hereto and their
    counsel. There shall be no construction of any provision against FocalPoint because this Amendment
    was drafted by FocalPoint, and the parties waive any statute or rule of law to such effect.

19. Assignment. This Amendment shall be binding upon FocalPoint and the Company and their respective
    successors and assigns (including, in the case of the Company, any successor to all or a portion of the
    assets and/or the businesses of the Company pursuant to any form of change of control, asset purchase
    or other transaction). Notwithstanding the foregoing, neither party may assign, transfer, or delegate
    any of its rights or obligations hereunder (including, without limitation, interests or Claims) if the other
    party withholds consent to such assignment, such consent not to be unreasonably withheld.
    Notwithstanding the foregoing, the Company hereby irrevocably consents to FocalPoint assigning or
    subcontracting any of FocalPoint’s rights and obligations hereunder to: (a) any affiliate or related entity,
    or (b) any entity that acquires all or a substantial part of the assets or business of FocalPoint.

20. Services to Other Parties. The Company acknowledges that FocalPoint engages in providing
    investment banking, financing and financial advisory services to a wide range of institutions and
    individuals. The Company further agrees that nothing herein shall preclude FocalPoint from pursuing,
    investigating, analyzing or engaging in business relationships that involve the Company, or other
    entities engaged in a business that is similar to the business of, or the same industry as, the Company.

21. Governing Law/Waiver of Jury Trial/Legal Fees. THIS AMENDMENT HAS BEEN NEGOTIATED,
    EXECUTED AND DELIVERED AT AND SHALL BE DEEMED TO HAVE BEEN MADE IN THE
    STATE OF CALIFORNIA. ANY DISPUTES ARISING OUT OF OR RELATED TO THIS
    AMENDMENT SHALL BE GOVERNED BY, AND CONSTRUED IN ACCORDANCE WITH, THE
    LAWS OF THE STATE OF CALIFORNIA, WITHOUT REGARD TO PRINCIPLES OF CONFLICTS
    OF LAW AND, SUBJECT TO THE REQUIREMENTS OF SECTION 22, SHALL BE BROUGHT
    EXCLUSIVELY IN THE STATE OR FEDERAL COURT OF IN THE COUNTY OF LOS ANGELES,
    STATE OF CALIFORNIA, PROVIDED, THAT THE COMPANY IS NOT IN A BANKRUPTCY
    CASE, IN WHICH CASE THE BANKRUPTCY COURT SHALL BE THE COURT OF EXCLUSIVE
    COMPETENT JURISDICTION. BY EXECUTION AND DELIVERY OF THIS AMENDMENT,
    EACH PARTY SUBMITS AND CONSENTS IN ADVANCE TO SUCH JURISDICTION IN ANY
    ACTION OR SUIT COMMENCED IN ANY SUCH COURT. EACH PARTY HEREBY WAIVES ANY
    OBJECTION WHICH IT MAY HAVE BASED UPON LACK OF PERSONAL JURISDICTION,
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    IMPROPER VENUE OR FORUM NON CONVENIENS AND HEREBY CONSENTS TO THE
    GRANTING OF SUCH LEGAL OR EQUITABLE RELIEF AS IS DEEMED APPROPRIATE BY SUCH
    COURT. THE COMPANY AND FOCALPOINT EACH CONSENTS TO SERVICE OF PROCESS IN
    ACCORDANCE WITH CALIFORNIA LAW. THE PARTIES HEREBY IRREVOCABLY WAIVE, TO
    THE FULLEST EXTENT PERMITTED BY LAW, ALL RIGHTS TO TRIAL BY JURY IN ANY
    ACTION, PROCEEDING, OR COUNTERCLAIM RELATING TO THIS AMENDMENT OF THE
    PERFORMANCE BY FOCALPOINT OF THE SERVICES CONTEMPLATED BY THIS
    AMENDMENT. IF LITIGATION IS EVER INSTITUTED BY EITHER PARTY HERETO TO
    ENFORCE, OR SEEK TO ENFORCE, OR TO SEEK DAMAGES FOR THE BREACH OF, ANY
    PROVISION HEREOF, THE PREVAILING PARTY SHALL BE ENTITLED TO RECOUP FROM
    THE OTHER ALL REASONABLE ATTORNEYS’ FEES INCURRED BY THE PREVAILING PARTY
    IN THAT LITIGATION.

22. Arbitration. Provided that the Company is not in a bankruptcy case, in which case the Bankruptcy
    Court shall have exclusive jurisdiction over any dispute arising out of or relating to this Amendment,
    any such dispute shall be determined by binding arbitration in Los Angeles, California before one
    arbitrator. The arbitration shall be administered by JAMS pursuant to its Streamlined Arbitration Rules
    and Procedures. Judgment on the arbitration award may be entered in any court having jurisdiction.
    This clause shall not preclude the parties from seeking provisional remedies in advance of arbitration
    from a court of appropriate jurisdiction. The arbitrator may, in the arbitration award, allocate all or part
    of the costs of the arbitration, including the fees of the arbitrator and the reasonable attorneys’ fees of
    the prevailing party.

23. Notice. All notices given pursuant to any of the provisions of this Amendment shall be in writing and
    shall be mailed or delivered: (a) to the Company, at its offices at 333 East Broadway Avenue, Maryville,
    TN 37804 Attention: Shawn Lederman; and (b) to FocalPoint, at its offices at 11150 Santa Monica
    Boulevard, Suite 1550, Los Angeles, CA 90025, Attention: David Porter, Chief Compliance Officer.
    Notice shall be effective upon receipt.

24. Severability. If it is found in a final judgment by a court of competent jurisdiction (not subject to further
    appeal) that any term or provision of this Amendment is invalid or unenforceable: (a) the remaining
    terms and provisions hereof shall be unimpaired and shall remain in full force and effect, and (b) the
    invalid or unenforceable provision or term shall be replaced by a term or provision that is valid and
    enforceable and that comes closest to expressing the intention of such invalid or unenforceable term or
    provision.

25. Counterparts. This Amendment may be executed in any number of counterparts, each of which will be
    deemed an original and all of which together shall be considered a single document. Such counterparts
    may be delivered by one party to the other by facsimile, e-mail or other electronic transmission, and
    such counterparts shall be valid for all purposes.

26. Other. The Company agrees that, in order to assist the government in its efforts to fight the funding of
    terrorism and money laundering activities, the Company shall provide FocalPoint with any and all
    information as FocalPoint may reasonably request that pertains to: (a) the Company and its affiliates,
    and (b) any entity that is a source of funds or assets in connection with a Transaction, as applicable. In
    connection with the foregoing, the Company further agrees that FocalPoint may provide any such
    information to a third party, subject to confidentiality restrictions, in order that such third party may
    assist FocalPoint in verifying the background of the Company, its affiliates and the source of such funds
    or assets. FocalPoint maintains a Business Continuity Plan, a written summary of which may be
    obtained by writing to FocalPoint Securities, LLC, 11150 Santa Monica Blvd., Suite 1550, Los Angeles,
    CA 90025.



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27. Representation. The Company represents and warrants to FocalPoint that (a) it has all requisite power
    and authority to enter into this Amendment, (b) this Amendment has been duly and validly authorized
    by all necessary action on its part, (c) this Amendment has been duly executed and delivered on its part
    and (d) this Amendment constitutes a legal, valid and binding agreement of it, enforceable in accordance
    with its terms.

By initialing below, RUBY TUESDAY, INC. and FocalPoint Securities, LLC hereby acknowledge that they
have read and agree to and accept the terms and conditions set forth in this Appendix A.



        FOCALPOINT SECURITIES, LLC                               RUBY TUESDAY, INC.




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